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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

DAVID SIDNEY POTTER,
      Plaintiff,
v.                                                  Case No. 4:21-cv-253-AW-MAF
ANGEL OAK MORTGAGE
SOLUTIONS, LLC, et al.,
     Defendants.
_______________________________/
         ORDER ADOPTING REPORT AND RECOMMENDATION

      I have considered the magistrate judge’s August 26 Report and

Recommendation. ECF No. 12. No objections have been filed. The Report and

Recommendation is now adopted and incorporated into this order. The clerk will

enter a judgment that says, “This case is dismissed for failure to prosecute and failure

to comply with a court order.” The clerk will then close the file.

      SO ORDERED on September 27, 2021.

                                        s/ Allen Winsor
                                        United States District Judge
